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                             United States District Court
                                       for the
                             Southern District of Florida

    United States of America,             )
    Plaintiff                             )
                                          )
                                            Criminal Case No. 16-20549-CR-
    v.                                    )
                                            Scola
                                          )
    Philip Esformes,                      )
    Defendant.                            )
    Order in Anticipation of Hearing on Government’s Ore Tenus Request to
                     Impose Conditions of Pre-trial Release
         This Court has scheduled a hearing on May 4, 2021 on the Government’s
   request for the imposition of additional conditions of pre-trial release.
         At the time of his arrest in July 2016, Esformes was denied pretrial release
   by United States Magistrate Judge Torres (Detention Order, ECF No. 68). That
   order was then approved by United States District Court Judge Lenard (Order,
   ECF No.133), and was later affirmed by the Eleventh Circuit (Order of Dismissal,
   ECF No. 700). One of the main grounds for Esformes’s pre-trial detention was
   an allegation that Esformes obstructed justice by attempting to pay for a co-
   conspirator to flee the jurisdiction.
         After a jury trial in 2019, Esformes was convicted of several counts and
   the jury was unable to reach a verdict on several counts. On September 12, 2019,
   the Court imposed a sentence of 20 years in prison followed by supervised release
   (ECF No. 1387). The trial of the remaining counts on which the jury was unable
   to reach a verdict was held in abeyance pending the outcome of the appeal on
   the counts of conviction.
         On March 27, 2020, Esformes filed an expedited motion for bond pending
   appeal (ECF No. 1482). In denying his request (ECF No. 1491), the Court noted
   that Esformes was still being detained on the hung counts and, thus, even if he
   received a bond pending appeal on the counts of conviction, he would not be
   released in any event. The Court also noted that Esformes had been convicted of
   obstruction of justice and, thus, the grounds for the continued detention of
   Esformes were stronger than they were in 2016 at the time of his original
   detention hearing when he was only alleged to have obstructed justice.
         On December 22, 2020, former President Trump commuted Esformes’s
   prison sentence. Although he was being pre-trial detained on the counts that did
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   not result in conviction, Esformes was released from prison on the same date
   and began serving the supervised release part of this sentence.
         In light of this procedural background, the Court orders the parties to
   address the following questions at the upcoming hearing on May 4, 2021:
         1. How/why was Esformes released from custody on December 22, 2020
            at a time there was an order of pre-trial detention separate and apart
            from his prison sentence?
         2. Why should the Court not simply take Esformes into custody pursuant
            to the previous order(s) of pre-trial detention?


         Done and ordered at Miami, Florida, on April 30, 2021.



                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
